           Case 1:23-cv-03754-BAH      Document 45       Filed 01/30/25     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

FREEMAN, et al.                     )
                                    )
      v.                            )              Case No. 1:23-cv-3754-BAH
                                    )
GIULIANI                            )
                                    )
____________________________________)
                               NOTICE OF WITHDRAWAL

       Due to an unintentional error, the Unopposed Motion filed at Dkt. 44 is hereby

withdrawn. The motion was unopposed but inadvertently included opposing counsel’s signature

from a prior draft when a joint motion was contemplated. A corrected motion will be filed

shortly.

Dated: January 30, 2025

                                                     Respectfully submitted,

                                                     By: /s/ Eden P. Quainton
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